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                                        OFFICE OF THE CLERK
                                    UNITED STATES DISTRICT COURT
                                         DISTRICT OF MAINE

                                        Christa K. Berry, Clerk

Edward T. Gignoux U.S. Courthouse                                         Margaret Chase Smith Federal
       156 Federal Street                                                 Building and U.S. Courthouse
     Portland, Maine 04101                                                      202 Harlow Street
          (207) 780-3356                                                      Bangor, Maine 04401
                                                                                 (207) 945-0575




                                                         February 22, 2021




        Heidi Bauer , Clerk


        RE:2:20-cv-00480-JAW
        Civil Docket Number.:2:20-cv-00480-JAW
        State Court Docket Number.:CV-20-00455


        Dear Ms. Bauer:

                On February 22, 2021, U.S. District Judge John A. Woodcock, Jr. issued an order
        remanding the above matter to Cumberland County Superior Court. Enclosed please find a
        certified copy of the docket sheet and Order of Remand.


                                                         Sincerely,

                                                         Christa K. Berry, Clerk


                                                         By: /s/ Teagan Snyder
                                                           Case Manager



Enc.

cc: Counsel of record without enclosures via ECF notification.
